               Case 3:12-cv-02039-GAG Document 1298 Filed 07/29/19 Page 1 of 2



 1                          IN THE UNITED STATES DISTRICT COURT

 2                              FOR THE DISTRICT OF PUERTO RICO

 3

 4    UNITED STATES OF AMERICA,

 5        Plaintiff,

 6        v.                                                    CASE NO. 12-2039 (GAG)

 7    COMMONWEALTH OF PUERTO RICO,
      et al.,
 8
           Defendants.
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10                           MINUTES OF PROCEEDINGS AND ORDER

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            The Court held on this date a telephone conference with counsel for the parties, Monitor,
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     and Special Master. The following items were discussed.
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        1. The parties will continue to work on the remaining methodology for remaining areas to be
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            approved and a final schedule shall issue.
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        2. The Monitor will be launching a new website to inform the public of all relevant matters
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            to the agreement.
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        3. Javier Benito Gonzalez has been appointed Administrative Director of the Monitor’s
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            Office.
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        4. The Monitor, as per the Agreement, continues to receive and obtain information regarding
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            the recent protests.
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            Case 3:12-cv-02039-GAG Document 1298 Filed 07/29/19 Page 2 of 2
     Civil No. 12-2039 (GAG)


 1        IT IS SO ORDERED.

 2           In San Juan, Puerto Rico this 29th day of July 2019.

 3                                                                  s/ Gustavo A. Gelpí
                                                                    GUSTAVO A. GELPÍ
 4                                                                  United States District Judge

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